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Piaimirf,

VS.
CFt. NO. 03-20433-B

GEORGE KlNDNESS/A|V|SCOT |V|ED|CAL LABS,

Defendants.

 

ORDEFl ON CONT|NUANCE AND SPEC!FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Nlarch 28, 2005. At that time, counsel for
the defendant requested a continuance of the April 4, 2005 trial date in order to allow for
additional preparation in the case, and a new trial report date of lVlay 31, 2005 was set.

The Court subsequently granted a request for a change of plea date and set the
change of plea date of Tuesdav. Julv 5. 2005. at 9:00 a.m., in Courtroom 1, 1 tth F|oor
of the Federa| Bui|ding, l\/lemphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

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iT is so captian this 25 day of i\/ray, 2005.

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This document entered on the docket sheet in compiiance

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with Rule 55 and/cr 32(b) FHCrF on " ©

  
 

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This notice confirms a copy ot` the document docketed as number 60 in
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May 25, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

